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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                          Case No. 0:20-cv-62002-WPD

   ONEMATA CORPORATION,

          Plaintiff,

   v.

   ASHFAQ RAHMAN and
   SABIRA AREFIN,

          Defendants,

   vs.

   WILLIAM SMITH and ENSCICON
   ACQUISITIONS II, LLC,

         Third-Party Defendants.
   ___________________________________/

                   RAHMAN’S MOTION TO VALUE ONEMATA STOCK
               BEFORE SUPPLEMENTAL PROCEEDINGS ARE COMMENCED
          Ashfaq Rahman (“Rahman”) moves for an order compelling the valuation of Onemata and
   Rahman’s Onemata equity before any supplemental proceedings and third-party actions are
   commenced because the value of Rahman’s Onemata equity could satisfy all or a substantial
   portion of the final judgment entered in this lawsuit.
   A.     Introduction
          Onemata Corporation (“Onemata”) is unwilling to fairly compensate Rahman and Sabira
   Arefin (“Arefin”) for their equity interest in Onemata because it intentionally used biased
   valuators, incorrect information, and outdated information to repurchase their equity. Onemata
   relies on a faulty February 2021 report prepared by its testifying expert to determine the repurchase
   value of Onemata’s stock. The problems with the report are two-fold. First, Onemata’s expert is
   wholly biased against Rahman and Arefin. Onemata’s expert was incentivized to generate a report
   with the lowest possible valuation rather than providing a neutral independent assessment of
   Onemata’s value and the true market-value of Rahman’s and Arefin’s equity interest therein.



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   Second, the report valued Onemata on a date almost two years prior to the alleged repurchase date
   (December 8, 2022). Onemata per its own trial admissions gained significant value during the
   period succeeding the expert’s 2021 report and Rahman and Arefin should get the benefit of that
   increased value. Onemata’s unwillingness to fairly compensate Rahman and Arefin for their
   Onemata equity warrants judicial intervention, a court ordered independent valuator, and the
   cessation of all supplemental proceedings.
   B.     Relevant Factual Background
          Onemata purchased LocalBlox from Rahman and Arefin for approximately $7.6 million.
   D.E. 373-2 at p. 1, ¶ 2.2. The purchase price was divided into three components. Id. at p. 2, ¶ 2.2.2.
   $2 million was paid in cash as closing, approximately $3 million was provided under four
   promissory notes, and the remaining (approximate) $2.5 million was paid by conveying a 34%
   ownership interest in Onemata. Id; see also D.E. 380 at p. 238:5-241:3. Rahman and Arefin
   received the cash and equity. D.E. 382 at p. 94:8-11. However, Onemata never paid Rahman or
   Arefin any sum under the notes. D.E. 380 at p. 87:3-9.
          A dispute between the parties arose. Onemata sued Rahman and Arefin for breach contract
   and Onemata sued Rahman for tortious interference. D.E. 73 at ¶¶ 7-74, 89-96, 119-132. Rahman
   counter-sued Onemata for breaching the notes. D.E. 144. The jury found against Rahman on all
   issues and a final judgment was entered in favor of Onemata for a total of $7 million in mid-
   September. D.E. 364; D.E. 368. Rahman and Arefin jointly owe $5 million under Onemata’s
   breach of contract claim and Rahman owes an additional $2 million under Onemata’s tortious
   interference claim. D.E. 368. The lopsided judgment allowed Onemata to retain possession of
   LocalBlox without paying any consideration for the business and forced Rahman to pay extra sums
   exceeding the purchase price. See D.E. 393 at pp. 17-18.
          Onemata issued a letter notifying Rahman and Arefin that it would repurchase Rahman’s
   and Arefin’s Onemata stock in partial satisfaction of the judgement on December 7, 2022. D.E.
   496-17. Onemata valued the stock at $669,354.44 based on a valuation conducted by its testifying
   expert, Ronald Seigneur (“Seigneur”), on April 16, 2021. Id. at p. 2 (“The company’s most recent
   appraisal was performed on April 16, 2021); see also 171-1 at pp. 94-130. Seigneur used a
   valuation date of February 28, 2021. D.E. 496-17 at p. 2 (“Expert Report Business Valuation of:
   Onemata Corporation as of February 28, 2021.); see also 171-1 at pp. 94, 102. Rahman promptly
   objected to the valuation and sale. D.E. 487-1 at p. 1. Onemata never obtained a writ of execution


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   to acquire the stock, but now claims (improperly) that it already owns the stock. It does not.
   Rahman never agreed to sell his Onemata equity to Onemata.
          Onemata allegedly went forward with the repurchase and reacquired Rahman’s and
   Arefin’s equity. D.E. 496 at p. 22. Onemata purportedly offset the final judgment amount by the
   value of Onemata equity repurchased from Rahman and Arefin. See Id. Therefore, Onemata claims
   the remaining judgment amount against Rahman and Arefin jointly is $4,330,645.56 and
   $6,330,645.56 against Rahman. Id. However, Rahman contends the sale never occurred, his equity
   was never conveyed to Onemata, and the value of his equity combined with Arefin’s equity fully
   satisfy the final judgment. As a result, Onemata should be prohibited from conducting further
   judgment execution proceedings.
   C.     Rahman should not be bound by Seigneur’s partial valuation because he was a hired
          gun engaged for the purpose of depressing the value of Onemata as much as possible
          to maximize Onemata’s ability to claim damages at trial.
          Rahman should not be required to sell his Onemata equity at a price that was determined
   by Onemata’s biased trial expert because Rahman is not receiving the fair value of the stock as
   consideration. See Fla. Stat. 607.1302 (“A shareholder of a domestic corporation is entitled to
   appraisal rights, and to obtain payment or the fair value of that shareholder’s shares.”); Colo. Rev.
   Stat. Ann. § 7-113-102 (same); Foreclosure FreeSearch, Inc. v. Sullivan, 12 So. 3d 771, 778 (Fla.
   4th DCA 2009) (Although “the majority shareholder [have] a right to engage the appraisal process
   to eliminate the rights of dissenting shareholders and put an end to corporate strife[, t]he process
   must produce a fair result for the minority shareholders.”). Onemata valued Rahman’s and Arefin’s
   equity at a total of $669,354.44 based on a biased opinion provided by an expert Onemata hired to
   testify on Onemata’s behalf at trial. D.E. 497-17. Onemata hired and paid Seigneur to value
   Onemata. Onemata likely encouraged Seigneur to depress his valuation as low as possible because
   Onemata desired to show maximum damages to the jury at trial. Onemata’s valuation was based
   on the same calculations and assumptions as the LocalBlox valuation. Compare D.E. 171-1 at pp.
   1-33 with pp. 94-130. Rahman demonstrated many deficiencies with Seigneur’s valuation during
   trial because Seigneur’s foundational numerical assumptions were belied by the company’s tax
   returns. D.E. 384 at pp. 26:17-45:17; see also D.E. 373-17. Rahman would have identified
   additional deficiencies during trial, but the Court prohibited Rahman from doing so. Id. at 46:21-
   47:9. Therefore, a neutral appraiser should be appointed to provide an unvarnished fair market
   value of Rahman’s Onemata equity. The parties can then determine the actual remaining value of

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   the judgment (if any). Any additional collections actions or supplemental proceedings should be
   stopped until the valuation is complete because the equity could fully satisfy the judgment. See
   infra at pp. 5-7.
           Onemata’s forced “sale” artificially depressed the equity’s value because the “sale price”
   did not reflect the price a willing seller would accept to sell the equity or the price a willing buyer
   would accept to purchase the equity. See Bright's Estate v. U. S., 619 F.2d 407, 410 (5th Cir. 1980),
   on reh'g, 658 F.2d 999 (5th Cir. 1981) (using the market value test to value equity, which requires
   the court to determine “the price at which [the equity] would have changed hands between a
   willing buyer and a willing seller, neither being under any compulsion to buy or to sell and both
   having reasonable knowledge of relevant facts.”) (internal quotations omitted); King v. King, 313
   So. 3d 887, 891 (Fla. 1st DCA 2021), reh'g denied (Mar. 29, 2021) (“The valuation of a business
   is calculated by determining the fair market value of the business, which is the amount for which
   a willing buyer and a willing seller would exchange assets, absent duress.”) (internal quotations
   omitted). Rahman was not a willing seller and never offered to sell his equity to Onemata for
   $334,677.22. Rahman is unaware of any fact demonstrating Arefin willingly offered to sell her
   equity to Onemata for $334,677.22. No evidence demonstrates an unbiased willing seller would
   agree to sell the Onemata equity in December 2022 for a total of $669,354.44. See infra at pp. 4-
   5. Onemata ignored the price a willing seller would sell his/her Onemata equity back to Onemata
   because it was incentivized to do so. The lower Onemata made the stock re-purchase price, the
   more Onemata could collect from Rahman in other assets thereby collecting more than what the
   final judgment permits.
           Onemata cannot use Seigneur’s valuation to determine the value of equity allegedly
   repurchased from Rahman because the valuation is outdated and in violation of the precept that a
   valuation must be based on what is known and knowable. D.E. 217-3 at p. 16:23-217:9. Seigneur’s
   determined the value of Onemata as of February 28, 2021. D.E. 171-1 at pp. 94, 102. This arbitrary
   valuation date was almost two years before Onemata purportedly repurchased Rahman’s equity in
   December 2022. An innumerable number of transactions and occurrences transpired during the
   two-year intervening period that would have impacted Onemata’s value and the value of Rahman’s
   and Arefin’s equity by extension. Seigneur’s valuation could not have taken these transactions and
   occurrences into account because they did not happen yet. Therefore, Seigneur’s valuation cannot
   accurately reflect the value of Onemata in December 2022 and cannot dictate the value of


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   Rahman’s and Arefin’s equity. There is no reason why Rahman should be bound by Onemata’s
   inaccurate valuation predicated on an arbitrary date that lapsed almost two years before his equity
   was allegedly repurchased.
           Seigneur’s valuation does not include valuable Onemata assets that are separate and
   distinct from the assets Onemata acquired by purchasing LocalBlox. As argued above, Onemata’s
   valuation was based on the same calculations and assumptions as the LocalBlox valuation.
   Compare D.E. 171-1 at pp. 1-33 with pp. 94-130. Consequently, the Onemata valuation was
   limited to LocalBlox assets. This valuation method was erroneous because Onemata’s CEO
   testified that Onemata owns assets unrelated to LocalBlox that have significant independent value
   like registered trademarks and software. D.E. 380 at p. 242:1-25 (“So even if we didn’t have a
   dime of revenue in [our trademarks], there was an incredible amount of value in Onemata.”).
   However, Onemata never determined the value of these assets as of the trial date. Id. (I have no
   idea how much value is in Onemata for the software and what we created.”). Seigneur did not
   value these Onemata assets and could not therefore incorporate their value into his overall February
   21, 2020 valuation of Onemata. A new independent Onemata valuation must therefore be
   conducted because Seigneur neglected to value significant asset classes that would increase the
   value of Onemata and Rahman’s and Arefin’s equity proportionally.
           Seigneur’s valuation is not the only method to value Rahman’s equity. Rahman’s Onemata
   equity could be valued based solely on revenues. Onemata’s CTO, Brad Brown indicated this fact
   in a June 5, 2020. Mr. Brown stated, “if we can get to $5M in recurring revenue, it would be
   a[ttractive] for [ZoomInfo] to buy us and pay $200M – today.” D.E. 375-9 at p. 1. This revenue
   only valuation can be common in the tech industry. Seigneur’s valuation is not therefore the only
   method to value Onemata. There are different approaches based on a variety of factors and a
   neutral appraiser should be used to select the correct appraisal method and calculate the appraisal
   thereafter.
           Rahman sought Onemata’s First Amended and Restated Stockholders Agreement and other
   governing documents to determine the procedures for valuing the company. Operating documents
   like a stockholders agreement usually provide a rubric for determining the company’s value and
   usually include provisions dictating how one or more neutral valuators will be selected to perform
   the valuation. Rahman initially asked Onemata for the documents on December 8, 2022. D.E. 487-
   1. Rahman lodged his request less than twenty-four hours after Onemata notified Rahman about


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   the repurchase event. D.E. 496-17. Rahman never received the document or any response.
   Notwithstanding, Rahman believes Onemata failed to adhere to the proper requirements for
   selecting a valuator, valuating the company, and repurchasing Rahman’s equity because these
   types of provisions are usually contained in a corporation’s governing documents.1
          Onemata had no authority to unilaterally force the sale of his equity under the
   circumstances of this case. Fla. Stat. § 678.1121 (1) (“The interest of a debtor in a certificated
   security may be reached by a creditor only by actual seizure of the security certificate by the officer
   making the attachment or levy.”). The letter Onemata sent Rahman was not self-executing. And
   automatic forced equity sales are usually reserved for instances when the equity holder declares
   bankruptcy, dies, or becomes incapacitated under the terms of a shareholder agreement. None of
   those situations occurred here. Therefore, Rahman rejects that Onemata repurchased his equity,
   owns his equity, or otherwise controls his equity. Rahman can therefore negotiate the sale of his
   equity to Onemata for a fair market value sometime in the future if the parties agree on a price and
   other relevant terms.
   D.     Rahman’s and Arefin’s combined equity interest in Onemata likely satisfied the final
          judgment amount thereby obviating the need for Onemata to engage in further
          collection proceedings such as supplemental proceedings and third-party actions.
          Onemata should have valued itself much higher than Seigneur opined based on Onemata’s
   own admission. Onemata’s CEO, William Smith, and TrueInfluence’s CEO, Michael VanPatten,
   negotiated a potential sale of LocalBlox in early July 2021. D.E. 373-24. Smith offered to sell
   LocalBlox assets to TrueInfluence for at least $10 million exclusive of any consideration paid to
   Rahman and Arefin. D.E. 373-24 at p. 2. The sale price had the ability to increase to $15 million
   if certain earnout benchmarks were achieved. Id. The sale price of LocalBlox significantly
   impacted Onemata’s value because LocalBlox was Onemata’s chief asset and responsible for a
   large portion of Onemata’s value. D.E. 380 at p. 238:5-241:3. Therefore, Onemata’s offer to sell
   LocalBlox for $10 million to $15 million dictates that Onemata believed it was worth at least $10
   million to $15 million.




   1
     It bears mention that the operating agreement for Onemata’s predecessor in interest, Enscicon
   Acquisitions, LLC, requires buybacks to be mutually agreed upon. D.E. 373-2 at p. 115 § 11.2.
   The agreement also provides the member ten days to reject the purchase price offer and provides
   for an appraisal method. Id. at p. 117 § 11.3.

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          Rahman’s and Arefin’s 34% equity interest in Onemata could fully satisfy the judgment
   had Onemata fairly valued itself. Indeed, Rahman’s and Arefin’s 34% equity interest in Onemata
   should have been valued at a minimum of $5.1 million based on the Onemata/TrueInfluence
   purchase offer of LocalBlox assets [$15 million × 34% = $5.1 million]. This valuation would fully
   satisfy Rahman’s and Arefin’s joint and several liability under the judgment, thereby negating the
   need for Onemata to engage in any further collection proceedings including supplemental
   proceedings requested by Onemata. D.E. 496.2 Onemata could have also gained additional value
   in the 18 months following the Onemata/TrueInfluence offer and Rahman’s and Arefin's
   ownership value in Onemata should increase proportionately. The additional value could
   substantially or fully offset Rahman’s remaining $2 million liability under the judgment. Again,
   this would obviate the need for Onemata to pursue post-judgment execution.
          Onemata miscalculated the amount of Rahman’s and Arefin’s collective shares by
   89,779.84, and as a result, miscalculated the total value of Rahman’s and Arefin’s equity. Rahman
   and Arefin were promised a collective 34% equity interest of all combined equity (voting and non-
   voting shares). See D.E. 373-2 at p. 2, ¶ 2.2.2; D.E. 497-17 at p. 1. Onemata’s repurchase letter
   indicates it had a total of 15,415,577 shares. D.E. 497-17 at p. 3. Arithmetic therefore dictates that
   Rahman and Arefin owned 5,241,296 shares in Onemata (rounded) [15,415,577 × 34% =
   5,241,296]. However, Onemata claims Rahman and Arefin only had 5,151,516 combined between
   because Rahman owned 2,575,758 shares and Arefin owned 2,575,758 shares [2,575,758 +
   2,575,758 = 5,151,516]. D.E. 496-17 at p. 3. As a result, Onemata shorted Rahman and Arefin out
   of 89,780 shares and their corresponding value.
          Onemata also miscalculated the value Rahman’s and Arefin’s collective shares assuming
   Seigneur’s report is true. Onemata claims its value was $2,003,000 based on Seigneur’s valuation.
   D.E. 496-17. However, Seigneur’s valuation indicates the total value of Onemata is $3,806,000.
   See D.E. 171-1 at pp. 102, 130. Seigneur valued Onemata’s class A shares at $2,003,000 and class
   B shares at $1,803,000. Therefore, the combined value of Onemata’s class A and class B shares is
   $3,806,000 [$2,003,000 + $1,803,000= $3,806,000].
          Applying the same logic, the value of Rahman’s and Arefin’s collective Onemata equity
   should be at least $847,966. There are 10,953,473 class B shares. See Exhibit 1 at p. 2. Rahman


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     Onemata owes Rahman and Arefin at least $8 million [$15 million valuation - $7 million
   judgment = $8 million payout to Rahman and Arefin].

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   owns 2,575,758 class B shares and Arefin owns 2,575,758 class B shares. Id. Therefore, Rahman
   and Arefin own 47.03% of class B shares [(2,575,758 + 2,575,758) ÷ 10,953,473 = 47.03%].
   Assuming Seigneur’s Class B valuation of $1,803,000 was correct (which it is not), Rahman and
   Arefin were owed $847,966 for their equity [$1,803,000 × 47.03% = $847,966].
          Onemata may oppose Rahman by arguing that Seigneur’s class B share valuation was the
   total value of the company discounted to account for the non-voting non-controlling interest of
   class B shares. However, Onemata’s interpretation is incorrect because an equity holder owning
   non-voting non-controlling cannot sell 100% of the company. See 171-1 at p. 130. Class A shares
   would need to be joined in the sale and approve the sale as a prerequisite to selling 100% of the
   company.
   E.     Conclusion
          Rahman respectfully requests that the Court grant this motion in all respects; appoint a
   neutral third party to appraise the value of Onemata, Rahman’s Onemata equity, and Arefin’s
   Onemata equity as of December 8, 2022; issue an order prohibiting Onemata from taking any
   further collection actions in this case including supplemental proceedings and third-party actions;
   alternatively deem the judgment full satisfied; and grant such other and further relief the Court
   deems just and proper under the circumstances.




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                          CERTIFICATE OF GOOD FAITH CONFERENCE
          I hereby certify that undersigned counsel conferred with all Parties who may be affected
     by the relief sought in this motion pursuant to Local Rule 7.1(a)(3). Undersigned counsel for
    Rahman corresponded with Anthony Leffert on May 23, 2023 about the issues contained herein,
   and Mr. Leffert objects to all relief requested herein on behalf of Onemata.


                                                                  Respectfully submitted,


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                                        CERTIFICATE OF SERVICE
             I certify that, on June 8, 2023, the foregoing document was served via email through the
   Court’s CM/ECF portal on all counsel of record at the email addresses enumerated on the Service
   List below.
                                                   /s/ Jacob M. Resnick




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